                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION


UNITED STATES OF AMERICA                             )       DOCKET NO.: 5:03CR4
                                                     )
              vs.                                    )       ORDER FOR DISMISSAL
                                                     )
(10) MARIO ARRELLANO-CARBAJAL                        )
(18) MARINO ALVARADO-VELAZQUEZ                       )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains

to (10) MARIO ARRELLANO-CARBAJAL and (18) MARINO ALVARADO-

VELAZQUEZ only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.



                                                 Signed: July 25, 2011




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